iREPFax                               Case 4:15-cr-00193-DPM
                                   2016-04-22                Document 31
                                              15:33:01 <GMT -06:00>   J:Jage Filed
                                                                              21 "l. 04/29/16                                  Page 1 of 1



                              P:'\ ~~
                              (Rev, 11'.13)
                                                                                                                                         FILED
         t:-'· ..
         -;>        ~.
                                                               United States District Court                                          US. DISTRICT COURT
                                                                                                                                 EASTERN DISTRICT ARKANSAS
                                                                      Eastern Distt·ict. of Arkansas
                                                                                                                                     r:;f5i2 2016
                                                                                                                                               9
          ,_,,·"                              United States of Amerkn                  )
                                                                                       )
                                                                                                                        ~~E1 M ~                       DEPC   K
               ,,
    ~··"                 ~
                                                        ,.~.
                                                                                       )
     ~t>:;.                                                                            )
    /J.~"'!j        . ~                       Derrick Lamoni Johnson
     I                                                                                 )     Cll!1C No.      0860 4:15CR00193


                                               CONSENT TO MODIFY CONDITIONS ·OF ~ELEASE
    :~ •1
     '"1'\;'.

, "'" ·                       J.     Derrick Lamont Johnson       , have discussed with            ,William Pennell
                                                                                             ~~---~~~~~~~~
                                                                                                                                      , Prctriul Services!
                              Probation Ofiiccr, modifications .of my rclens~ conditions as follows:
                              Removal of honh: detention with electronic mon-h.oring .




    .f ·..

    > ""                      I 1:onsl.'nt .to this modi tica1ion of my release conditions and agree to t\bidc by this motlification.
                                                                                                   ,_.,;;,·~~
                                                                L.j · 1d~"'.,} '[.;,           ~~
                                                                  Dafc:                       Pre1rinl Serv\ccsiPrql!ulioo Officer
                                                                                             ~J"LA. - .<·                   .. ,'·

                              I lrnvc reviewed the conditions with my clh.:nl and concur thnt this motlilication is appropriate .

                              . ,f~~                                                                                             ~~l-i-i-/11o
           ..,;,
"   ~·t. {° !"::O        ,,   The Assistant U.S. Attorne.~ does 0 'docs not ccmcur \>.'ith this modification .
                              Q'.Jfhe above modifica1ion of conditions of release is ordered~ to be effective on                     i/48 //(tl
                               C                          100 of conditions of relea.$e is   not ordered.
